                  IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                        Case No. 1:23-cv-00734-WO-JEP

ANITA S. EARLS,                        )
                                       )
      Plaintiff,                       )
                                       )
      v.                               )
                                       )
NORTH CAROLINA JUDICIAL                )
STANDARDS COMMISSION; et al.,          )
                                       )
      Defendants.                      )
__________________________________________________________
 NOTICE OF SUBSTITUTION OF FORMER ATTORNEY-MEMBERS OF THE
         NORTH CAROLINA JUDICIAL STANDARDS COMMISSION

       Plaintiff Anita S. Earls, by her undersigned counsel and pursuant to Rule 25(d),

Fed. R. Civ. P., hereby files her Notice of Substitution with respect to Defendants

Michael Crowell, Michael T. Grace, Allison Mullins, and Lonnie M. Player Jr. (the

“Attorney-Members”) who no longer serve in any official capacity as members of the

North Carolina Judicial Standards Commission (the “Commission”).

       This Notice is based on the fact that by virtue of a law enacted in September 2023,

Sess. Law 2023-134 § 16.20.(b), which becomes law on October 3, 2023, the Attorney-

Members, as “the four members of the Judicial Standards Commission previously elected

by the State Bar Council,” are no longer members of the Commission.

       By operation of Rule 25(d), the successors to the Attorney-Members will be

automatically substituted as parties.

       This the 3rd day of October, 2023.

                                                By:    /s/ Pressly M. Millen




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                                               Pressly M. Millen
                                               State Bar No. 16178
                                               Raymond M. Bennett
                                               State Bar No. 36341
                                               Samuel B. Hartzell
                                               State Bar No. 49256
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Attorneys for Plaintiff Anita S. Earls




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